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                                    #:4163
                        NC2581 general purpose    a r; adams·        carbonless • 2-part


                            BRAVO'S CONSTRUCTION
                                              LICENSE #736958
                                    1439 W. JEFFERSON BLVD.
                                     LOS ANGELES, CA 90007
                                       PH: (323) 735-3777
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                          AME
                                                                                    \clV\
                         ADDRESS

                         CITY, STATE, ZIP

                          SOLD BY
                                                   DcAsH           □ C.O.D.       □ PAID OUT
                                                   OcHARGE         □ MERCHANDISE RETURNED '
                          QUANTITY                              DESCRIPTION                      PRICE       AMOUNT




                         SIGNATURE


                        &adams·
                        NC2581
                                            ALL CLAIMS AND RETURNED GOODS MUST BE ACCOMPANIED BY THIS BILL            01 -11




                         SUBJECT TO PROTECTIVE ORDER                                           USAO_ GK_00005743
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                                    #:4165
                        NC2581 general purpose    8 t adams·         carbonless • 2-part


                            BRAVO'S CONSTRUCTION
                                              LICENSE #736958
                                    1439 W. JEFFERSON BLVD.
                                     LOS ANGELES, CA 90007                            DATE   b
                                       PH: (323) 735-3777                             ORDER NO.

                         NAME

                         ADDRESS

                         CITY, STATE, ZIP

                          SOLD BY
                                                   DcAsH           □ C.O.D.        □ PAID OUT
                                                   DcHARGE         □ MERCHANDISE RETURNED •
                           QUANTITY                             DESCRIPTION                        PRICE      AMOUNT




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                         NC2581




                         SUBJECT TO PROTECTIVE ORDER                                              USAO_GK_00005742
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                        NC2581 general purpose
                                    #:4167         B t adams·         carbonless • 2-part


                             BRAVO'S CONSTRUCTION
                                               LICENSE #736958
                                     1439 W. JEFFERSON BLVD.
                                                                                                 No.c.
                                      LOS ANGELES, CA 90007                            DATE~ Q,c_     ,1
                                        PH: (323) 735-3777                             ORDER NO.

                         NAME

                         ADDRESS

                         CITY, STATE, ZIP

                           SOLD BY
                                                    DcASH           □ C.O.D.        □ PAID OUT
                                                    OcttARGE        □ MERCHANDISE RETURNED "'
                           QUANTITY                              DESCRIPTION                        PRICE     AMOUNT


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                                            ALL CLAIMS AND RETURNED GOODS MUST BE ACCOMPANIED BY THIS BILL.        01-11




                         SUBJECT TO PROTECTIVE ORDER                                               USAO_GK_00005741
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                        NC2581 general purpose    a?adams·           carbonless • 2-part

                            BRAVO'S CONSTRUCTION
                                              LICENSE #736958
                                     1439 W. JEFFERSON BLVD.
                                      LOS ANGELES, CA 90007
                                        PH: (323) 735-3777                            ORDER NO.

                         NAME

                         ADDRESS

                         CITY, STATE, ZIP

                          SOLD BY
                                                   DcASH           □ C.O.D.        □ PAID OUT
                                                   DcHARGE         □ MERCHANDISE RETURNED :
                           QUANTITY                             DESCRIPTION




                          SIGNATURE


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                         NC2581
                                            ALL CLAIMS AND RETURNED GOODS MUST BE ACCOMPANIED BY THIS BILL.    01-11




                         SUBJECT TO PROTECTIVE ORDER                                              USAO_GK_00005738
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                       NC2581 general#:4171
                                      purpose    B t adams·          carbonless • 2-part


                             BRAVO'S CONSTRUCTION
                                              LICENSE #736958
                                     1439 W. JEFFERSON BLVD.
                                      LOS ANGELES, CA 90007
                                        PH: (323) 735-3777
                         NAME
                                                                                                   e
                         ADDRESS

                        CITY, STATE, ZIP

                          SOLD BY
                                                     L-
                                                  DcAsH          □ C.O.D.       □ PAID OUT
                                                  DcHARGE        □ MERCHANDISE RETURNED ",
                          QUANTITY

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                                           ALL CLAIMS AND RETURNED GOODS MUST BE ACCOMPANIED BY THIS BILL.   01-11




                         SUBJECT TO PROTECTIVE ORDER                                            USAO_GK_00005739
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                                  #:4172




                     EXHIBIT 33
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                        NC2581 general purpose    a t adams·         carbonless • 2-part


                            BRAVO'S CONSTRUCTION
                                             LICENSE #736958
                                  1439 W. JEFFERSON BLVD.
                                    LOS ANGELES, CA 90007
                                  .- PH: (323) 735-3777
                         NAME

                         ADDRESS

                         CITY, STATE, ZIP
                                                   L.
                          SOLD BY
                                                   DcASH             □ C.O.D.        □ PAID OUT
                                                   DcHARGE           □ MERCHANDISE RETURNED ",
                           QUANTITY                            DESCRIPTION                         PRICE      AMOUNT




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                                            ALL CLAIMS AND RETURNED GOODS MUST BE ACCOMPANIED BY THIS BILL.            01-11




                         SUBJECT TO PROTECTIVE ORDER                                              USAO_GK_00005737
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                        NC2581 general purpose                          carbonless • 2-part
                                   #:4175

                                BRAVO'S CONSTRUCTION
                                                 LICENSE '736958
                                       1439 W. JEFFERSON BLVD.
                                        LOS ANGELES, CA 90007
                                          PH: (323) 735-3777
                          NAME

                          ADDRESS

                          CITY, STATE, ZIP

                           SOLD BY
                                                                      □ C.O.D.        □ PAID OUT
                                                                      □ MERCHANDISE RETURNED-'
                            QUANTITY                               DESCRIPTION                      PRICE      AMOUNT




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                          SUBJECT TO PROTECTIVE ORDER                                              USAO_GK_00005681
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